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                                    UNITED STATES DISTRICT COURT
   10
                                  CENTRAL DISTRICT OF CALIFORNIA
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        J.N.,                                          ) Case No. 2-14-cv-02428-DDP (PLAx)
   13                                                  )
                               Plaintiff,              ) ORDER RE: ATTORNEY’S FEES
   14
                                                       )
   15           v.                                     ) [Dkt. 149]
                                                       )
   16
        DET. HEATHER M. HENDRICKSON, et                )
   17   al.,                                           )
                                                       )
   18
                               Defendants.             )
   19                                                  )
   20

   21           Presently before the court is Plaintiff J.N.’s Motion for Attorney’s Fees. (Dkt. 149.)

   22   After reviewing the parties’ submissions and hearing oral argument, the court adopts the

   23   following Order.

   24   I. BACKGROUND

   25           Plaintiff J.N. filed the instant action pursuant to 42 U.S.C. § 1983 alleging

   26   violations of his Fourth and Fourteenth Amendment Rights on the basis of judicial

   27   deception and malicious prosecution by Defendant Det. Heather Hendrickson. (See Third

   28   Amended Complaint.) The court assumes the parties’ familiarity with the facts, which
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    1   have been set forth in greater detail in the court’s Order granting Defendant’s Motion for

    2   Remittitur. (See Dkt. 167.)

    3           In brief, Plaintiff J.N. brought this action following his arrest and detention on

    4   felony charges from August 2011 to April 2012. The charges pertained to sex crimes

    5   perpetrated on Facebook by a man with the user name “Pater Noster” against then 12-

    6   year-old K.W. The victim’s mother reported the incidents to the Sacramento Police

    7   Department, which assigned the case to Defendant Det. Heather Hendrickson. Det.

    8   Hendrickson soon identified Plaintiff J.N. as the primary suspect. Plaintiff asserts that

    9   Defendant’s investigation was characterized by several errors, including a suggestive

   10   admonition during a photographic lineup with K.W. that led to a tainted identification

   11   and a failure to follow-up with a requested FBI subpoena that would have revealed Pater

   12   Noster’s computer IP address originated in Austria. On the basis of this investigation,

   13   Defendant prepared a search and arrest warrant application, which she submitted to a

   14   judge. The warrants were approved and Plaintiff was taken into custody in August 2011.

   15   In February 2012, the charges were ultimately dismissed after K.W. failed to identify

   16   Plaintiff as Pater Noster at a live lineup. Plaintiff was released from custody in April

   17   2012.

   18           The Third Amended Complaint asserts violations of Plaintiff’s Fourth and

   19   Fourteenth Amendment rights on the basis of judicial deception, malicious prosecution,

   20   fabrication of evidence, and suppression of exculpatory evidence. Initially, Plaintiff sued

   21   Det. Hendrickson, her supervisor, and the deputy District Attorney handling the case,

   22   and alleged Monell claims for municipal liability. The court dismissed the claims against

   23   the deputy District Attorney and Plaintiff dismissed all remaining Defendants other than

   24   Det. Hendrickson prior to trial. The case went to trial and a jury found in favor of

   25   Plaintiff on his claims for judicial deception and malicious prosecution. The jury awarded

   26   Plaintiff $5 million in compensatory damages and $5,000 in punitive damages. After the

   27   verdict, Defendant moved for a new trial or, in the alternative, remittitur of the damages

   28   verdict. The court denied Defendant’s motion for new trial on liability. However, the

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    1   court found that the jury verdict was excessive and granted a remittitur to reduce the

    2   verdict to $3,000,000. Plaintiff accepted the remittitur. Plaintiff now moves for reasonable

    3   attorneys’ fees.

    4   II. LEGAL STANDARD

    5          A district court may, in its discretion, award a reasonable attorney’s fee to the

    6   prevailing party in section 1983 litigation. 42 U.S.C. § 1988(b). Under section 1988, “a

    7   prevailing plaintiff should ordinarily recover an attorney’s fee unless special

    8   circumstances would render such an award unjust.” Hensley v. Eckerhart, 461 U.S. 424, 429

    9   (1983) (internal citations and quotations omitted). A plaintiff “prevails” when there is a

   10   material alteration of the legal relationship between the parties that modifies the

   11   defendant’s behavior in a way that directly benefits the plaintiff. See Farrar v. Hobby, 506

   12   U.S. 103, 111-12 (1992).

   13          The “starting point for determining the amount of a reasonable fee is the number

   14   of hours reasonably expended on the litigation multiplied by a reasonable hourly rate.”

   15   Hensley, 461 U.S. at 433. Courts should exclude hours that were not reasonably expended

   16   from the initial fee calculation. Id. at 434. There is a strong presumption that the resulting

   17   “lodestar” figure represents a reasonable fee. Jordan v. Multnomah Cnty., 815 F.2d 1258,

   18   1262 (9th Cir. 1987). After calculating the lodestar, other considerations “may lead the

   19   district court to adjust the fee upward or downward.” Hensley, 461 U.S. at 433. Among

   20   those other considerations is “the important factor of the ‘results obtained.’” Id.; see also

   21   id. at n.9 (suggesting that many factors are often subsumed within the initial calculation

   22   of hours reasonably expended at a reasonable hourly rate).

   23   III. DISCUSSION

   24          A. Reasonable Attorneys’ Fees

   25          The parties agree that Plaintiff prevailed in this section 1983 suit and is entitled to

   26   recover some measure of attorneys’ fees. The only dispute between the parties is what

   27   constitutes a reasonable fee award.

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    1                  1. Reasonable Rates

    2            “Fee applicants have the burden of producing evidence that their requested fees

    3   are ‘in line with those prevailing in the community for similar services by lawyers of

    4   reasonably comparable skill, experience and reputation.’” Chaudhry v. City of Los Angeles,

    5   751 F.3d 1096, 1110–11 (9th Cir. 2014) (quoting Camacho v. Bridgeport Fin., Inc., 523 F.3d

    6   973, 980 (9th Cir. 2008). “[T]he relevant community is the forum in which the district

    7   court sits.” Camancho, 523 F.3d at 979. The fee applicant must “produce satisfactory

    8   evidence—in addition to the attorney’s own affidavits—that the requested rates are in

    9   line with those prevailing in the community.” Dang v. Cross, 422 F.3d 800, 814 (9th Cir.

   10   2005).

   11            This case was handled in large part by attorney Jeff Dominic Price. Price, who has

   12   29 years of experience, requests compensation at the rate of $775/hour. (Price Decl. ¶ 9.)

   13   Two additional attorneys assisted largely at the trial stage. Corey Carter, who has six

   14   years of experience, requests $495/hour and Mary McCaffrey, who has 6 months of

   15   experience, requests $290/hour. (See Carter Decl, Exs. C, D; McCaffrey Decl., Exs. E, F.) In

   16   support of the fee request, Plaintiff’s counsel relies on the declaration of attorney Carol

   17   Sobel. Sobel, who states that she has reviewed numerous fee applications by civil rights

   18   litigators in Southern California, explains that based on her review of comparable cases,

   19   her personal experience with Mr. Price, and her review of the resumés of all three

   20   attorneys, she would find the rates requested reasonable. (Sobel Decl. ¶ 26.)

   21             As recognized by fellow district courts, these declarations are of limited value

   22   because “the appropriate standard is ‘the prevailing rate in the community’ to attract

   23   ‘qualified counsel to civil rights cases,’ and not necessarily what others in the community

   24   believed that Plaintiffs’ counsel are entitled to.” See, e.g., Charles Antuna v. County of Los

   25   Angeles, No. CV 14-5600-MWF (PLAx) (C.D. Cal. Mar. 8, 2016) (quoting Moreno v. City of

   26   Sacramento, 534 F.3d 1106, 1111 (9th Cir. 2008) (“In making the award, the district court

   27   must strike a balance between granting sufficient fees to attract qualified counsel to civil

   28   rights cases, and avoiding a windfall to counsel.”)). Accordingly, the court relies on its

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    1   own experience and recent fee awards in comparable civil rights cases to ascertain a

    2   reasonably hourly rate. In Antuna, the district court undertook a similar analysis in 2016

    3   and found that senior partners or solo practitioners with over 30 years of experience

    4   should reasonably be compensated between $600 and $700 per hour, “with $700 reserved

    5   for those who have invested substantial energy and time in the case.” Id.; see also

    6   Rodriguez v. Cty. of Los Angeles, 96 F. Supp. 3d 1012, 1023 (C.D. Cal. 2014) (awarding

    7   hourly rate of $700 to civil rights litigator with 28 years’ experience). The district court in

    8   Antuna also concluded that hourly rates of $200 for associates with five years of

    9   experience and $100 for new attorneys were appropriate. Other courts have awarded

   10   even less for experienced civil rights litigators. See Zuniga v. W. Apartments, No. CV 13-

   11   04637-JFW, 2014 WL 6655997, at *2 (C.D. Cal. Nov. 24, 2014) (awarding hourly rate of

   12   $450 to fair housing litigator with 24 years of experience). Having reviewed Mr. Price’s

   13   supporting declaration and his particular experience, along with comparable cases, the

   14   court finds that a reasonable hourly rate would be $650.

   15          As to Mr. Carter’s rate, the court notes that his resume does not indicate any

   16   particular experience with civil rights work and exceeds the court’s understanding of

   17   prevailing market rates for someone with his level of experience. See Contreras v. City of

   18   Los Angeles, No. 2:11-CV-1480-SVW-SH, 2013 WL 1296763, at *4 (C.D. Cal. Mar. 28, 2013),

   19   aff'd, 603 F. App'x 530 (9th Cir. 2015) (awarding $320 per hour to civil rights litigator with

   20   six years of experience); P.C. v. City of Los Angeles, et al., No. 2:07–cv–3413–PLA (C.D. Cal.

   21   Sept. 14, 2012) (awarding hourly rate of $320 to same attorney). Accounting for the rise in

   22   billing rates since 2013, the court would award Mr. Carter $380 per hour. Finally, the

   23   court finds Ms. McCaffrey’s rate, though high for someone with such limited prior

   24   experience, is within the range of reasonable rates for newly admitted attorneys.

   25                 2. Reasonable Time Expended

   26          Plaintiff’s counsel have submitted detailed billing records indicating the time

   27   expended on various tasks. The total number of hours for which compensation is

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    1   requested is 906.36. Applying the approved rates, this would result in the following

    2   lodestar

    3   Attorney                Reasonable Rate      Hours        Lodestar

    4   Jeff D. Price           $650                 671.06       $436,189
    5   Corey A. Carter         $380                 79.1         $30,058
    6   Mary E. McCaffrey       $290                 156.2        $45,298
    7   Total                                                     $511,545
    8   In an exercise of billing judgment, Plaintiff’s counsel has voluntarily requested a 10%
    9   reduction in the fee award to account for any possibly duplicative or unnecessary work
   10   performed.
   11           “The district court may not uncritically accept the number of hours claimed by the
   12   prevailing party, even if actually spent on the litigation, but must, in order to award fees
   13   based on them, find that the time actually spent was reasonably necessary.” Carson v.
   14   Billings Police Dept., 470 F.3d 889, 893 (9th Cir. 2006) (internal quotations omitted). Having
   15   conducted a review of Plaintiff’s billing records, the court finds that the hours were
   16   reasonably expended. Likewise, Defendant does not object to any specific billing entries.
   17   Defendant does, however, propose reducing Mr. Price’s billing rates for all non-trial
   18   related because this was work that could have been performed by a lower paid associate.
   19   In Defendant’s view, the 209.40 hours Mr. Price billed in connection with trial should be
   20   paid at his lodestar rate while the remaining 461.06 hours should be billed at a rate more
   21   appropriate for associates. As an initial matter, this adjustment rests on the assumption
   22   that work done in connection with trial preparation is necessarily more complex than all
   23   other work. An attorney’s efforts preparing to depose a witness, defend a key deposition,
   24   craft discovery requests, or brief motions in limine can be as complex as, say, preparing
   25   demonstratives for use at trial. Moreover, as Plaintiff notes, until shortly before trial there
   26   was no one to whom to delegate, as Mr. Price is a solo practitioner. Likewise, the Ninth
   27   Circuit has instructed that courts “should defer to the winning lawyer’s professional
   28   judgment as to how much time he was required to spend on the case . . . .” Moreno v. City

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    1   of Sacramento, 534 F.3d 1106, 1112 (9th Cir. 2008). Accordingly, the court declines to

    2   speculate about whether certain tasks could have been delegated to a hypothetical less

    3   experienced associate. Moreover, to the extent that there was any overstaffing, Mr. Price’s

    4   proposal for an across-the-board ten percent reduction adequately mitigates those

    5   concerns. Thus, the court finds that the overall reasonable fees incurred in this action

    6   amount to $460,390.50.

    7          B. Reduction under Hensley

    8          Defendant also contend that, notwithstanding Plaintiff’s overall success, the court

    9   should reduce the overall fee award for time spent preparing the abandoned Monell

   10   claim. As noted above, Plaintiff initially asserted individual claims against Det.

   11   Hendrickson, her supervisor, and the assigned Deputy District Attorney, as well as

   12   municipal liability claims against the City of Sacramento and the Sacramento Police

   13   Department. (See Third Amended Complaint.) The court dismissed the Deputy District

   14   Attorney on Defendant’s Motion. (See Dkt. 51.) Shortly before trial, Plaintiff abandoned

   15   his Monell claims and presented a case only about Det. Hendrickson’s liability. Defendant

   16   requests a 10% fee reduction to account for time spent on the unsuccessful and ultimately

   17   abandoned Monell claim.

   18          Attorney’s fees are not necessarily limited to work performed on successful

   19   claims. “A plaintiff who is unsuccessful at a stage of litigation that was a necessary step

   20   to her ultimate victory is entitled to attorney’s fees even for the unsuccessful stage.”

   21   Cabrales v. County of Los Angeles, 935 F.2d 1050, 1053 (9th Cir. 1991); see also Hensley, 461

   22   U.S. at 440 (“A plaintiff who has won substantial relief should not have attorney’s fee

   23   reduced simply because the district court did not adopt each contention raised.”). The

   24   Hensley Court established a two part analysis for determining attorney’s fees where

   25   plaintiff has prevailed on some claims but not others. See Hensley, 461 U.S. at 434-35.

   26   First, the court must decide whether the successful and unsuccessful claims are related.

   27   Though there is no “precise” test of relatedness, related claims involve “a common core

   28   of facts” or are “based on related legal theories.” Thorne v. City of El Segundo, 802 F.2d

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    1   1131, 1141 (9th Cir. 1986). If the claims are unrelated, hours spent on unsuccessful,

    2   unrelated claims should be excluded in considering the amount of a reasonable fee.

    3   Hensley, 461 U.S. at 440.

    4          In the instant case, Plaintiff has not established the Monell claims and the claims

    5   against Det. Hendrickson personally are sufficiently related under the Hensley inquiry.

    6   As an initial matter, Plaintiff makes no argument on this point other than to reiterate

    7   Hensley’s teaching that an attorney who has secured a favorable outcome should be

    8   compensated “even if ‘the plaintiff failed to prevail on every contention.’” (Reply 9

    9   (quoting Fox v. Vice, 563 U.S. 826, 834 (2011)).) Moreover, a review of the operative

   10   complaint confirms that while the claims against Det. Hendrickson focused on her

   11   individual acts of judicial deception and malicious prosecution, the Monell claims allege

   12   that the city maintained deficient policies when investigating cases that involve

   13   exploitation of children over the Internet. (See TAC ¶ 132.) Although the two claims have

   14   some connection, they do not turn on a common core of facts and Plaintiff is not entitled

   15   to recover for time spent preparing that claim. See Gonzales v. City of San Jose, No. 13-CV-

   16   00695-BLF, 2016 WL 3011791, at *7 (N.D. Cal. May 26, 2016) (awarding fees in successful

   17   section 1983 action but declining to award fees for time spent on unsuccessful Monell

   18   claims). Defendant proposed a 10% reduction from Plaintiff’s reasonably incurred

   19   expenses to account for the Monell claims. It is difficult to determine from reviewing

   20   Plaintiff’s billing records the exact amount of time dedicated to preparing the municipal

   21   liability claim. Nonetheless, Plaintiff does not contest the 10% estimate and it accords

   22   with the court’s understanding of the relative import of the claim to the overall litigation.

   23   Thus, the court will apply a 10% reduction to Plaintiff’s reasonably incurred attorney’s

   24   fees. After applying this adjustment, the court arrives at a fee award of $414,351.45.

   25          C. Supplemental Request

   26          Plaintiff seeks an additional $73,548.25 in fees incurred after trial, including fees

   27   related to Defendant’s Motion for New Trial. From the records and declarations

   28   presented, the court finds that most, but not all, of the time billed was reasonably

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    1   expended. The court reduces the hours sought by Mr. Price by 3.2, the hours sought by

    2   Mr. Carter by 2, and the hours sought by Ms. McCaffrey by 13.5. At the reasonable rates

    3   discussed above, the court awards a further $57,496.00

    4   IV. CONCLUSION

    5         For the reasons stated above, the court GRANTS Plaintiff’s Motion for Attorneys’

    6   Fees in the amount of $471,820.45.

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    8   IT IS SO ORDERED.

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   10   Dated: August 15, 2017
                                                ___________________________________
   11                                                 DEAN D. PREGERSON
   12                                             UNITED STATES DISTRICT JUDGE

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